UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JANE DOE 1, Individually and on
Behalf of All Others Similarly
Situated,

Plaintiff,

DEUTSCHE BANK AKTIENGESELLSCHAFT,
DEUTSCHE BANK AG NEW YORK BRANCH,
DEUTSCHE BANK TRUST COMPANY
AMERICAS,

Defendants.

 

 

JANE DOE 1, Individually and on
Behalf of All Others Similarly
Situated,

Plaintiff,

JP MORGAN CHASE BANK, N.A.,

Defendant.

 

 

 

GOVERNMENT OF THE UNITED STATES
VIRGIN ISLANDS,

Plaintiff,

JP MORGAN CHASE BANK, N.A.,

Defendant.

 

 

 

22-cv-10018 (JSR)

22-cv-10019 (JSR)

22-cv-10904 (JSR)

ORDER

 

 

 

 

 
JED S. RAKOFF, U.S.D.J.:

On March 1, 2023, defendant JPMorgan Chase Bank, N.A. (“JP
Morgan”) moved to compel production of certain documents from third-
party the Epstein Victims Compensation Program (“EVCP”). For reasons
stated from the bench on March 16, 2023, the Court hereby grants JP
Morgan’s motion in part and denies that motion in part, as further
specified below.

The Court hereby grants JP Morgan’s motion with respect to its
Requests for Production numbered 1, 9, 12, 13, 14, and 15.
Additionally, the Court hereby grants in part JP Morgan’s motion with
respect to its Requests for Production numbered 7 and 8. More
specifically, the EVCP is hereby ordered to produce documents
sufficient to show the total number of applicants to the EVCP who were
approved for compensation and the total number of such applicants who
were denied such compensation. The EVCP is not hereby compelled to
produce documents sufficient to show the reasons for its approval or
denial of any application. Additionally, JP Morgan’s motion to compel
is denied with respect to Requests for Production numbered 13, 16, 17,

18, and 19, which the Court views as overly broad.

 

 

 

 

 
All documents produced pursuant to this Order are to be produced
on an attorneys-eyes-only basis, and are to be made available to
counsel for JP Morgan as well as to counsel for defendants in Jane Doe
Vv. Deutsche Bank Aktiengesellschaft et al., 22-cv-10018. ALL
personally identifying information must be redacted from them, and
they must be returned (with no records of them kept) once the Court
has ruled on class certification in the above-captioned cases.

The Clerk is respectfully directed to close entry number 55 on

the docket of Jane Doe v. JP Morgan Chase Bank, N.A., 22-cv-10019 and

 

entry number 63 on the docket of Government of the United States Virgin

Islands v. JP Morgan Chase Bank, N.A., 22-cv-10904.

 

SO ORDERED.
New York, NY \é f. CLIO
March JY, 2022 JED $.° RAKOFF, G.S.D.d.

 

 

 

 

 
